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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )           4:08CR3059
                                              )
            v.                                )
                                              )
                                              )
JAYRO A. FLORES and JULIO                     )    REPORT AND RECOMMENDATION
FLORES-ELENES,                                )
                                              )
                         Defendants.          )



       Both defendants have filed motions to suppress evidence.
Defendant Julio Flores-Elenes (hereinafter, "Julio") has moved to
suppress all physical evidence and statements obtained from him as
a result of a traffic stop and search of his vehicle on April 21,
2008    which     he    argues   violated    his       rights   under    the    Fourth
Amendment.      Defendant Jayro Flores (hereinafter "Jayro") has moved
to     suppress    statements      he   made      to      Nebraska    State     Patrol
Investigator Jeff Shelton following Jayro's arrest in connection
with that traffic stop, which, he argues, were taken in violation
of his rights under the Fifth Amendment and Miranda v. Arizona, 384
U.S. 436 (1966).


       An evidentiary hearing was held on these motions on July 18,
2008 before the undersigned.                I now recommend that defendant
Julio's motion be denied, and that defendant Jayro's motion be
granted.
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                        FACTS –- THE STOP AND SEARCH


     On April 21, 2008 Nebraska State Patrol Trooper Paul Hazard
was in his patrol cruiser, which was stationary in the median of
Interstate    Highway     80   in    Buffalo    County,     Nebraska,      facing
southwest.   He was running radar on eastbound traffic.                The speed
limit in that area is 75 mph.              Traffic was light.        Hazard had
tested his radar unit before his shift began that day at 3:00 p.m.
and had found it to be operating correctly.               At about 7:00 p.m.
Hazard noticed     an    eastbound    vehicle    which    he   believed    to   be
speeding.    He activated his radar antenna and the radar indicated
that the vehicle was traveling at 81 mph.              As the vehicle passed
him he noticed that it did not have a front license plate.1                     He
pulled onto the highway and stopped the vehicle.


     The vehicle stopped without incident.               It was a white 2005
Chrysler Pacifica driven by defendant Julio and also occupied by
defendant Jayro.        The events were recorded on the in-car video
camera in the trooper's vehicle.               Exhibit 1.      Trooper Hazard
approached the vehicle on the passenger side and requested the
driver's license and the vehicle registration.              He requested that
the driver accompany him to his cruiser so a warning citation could
be completed.2      While the driver, later identified as Julio,


     1
       Trooper Hazard testified that after he pulled onto the
roadway and saw the rear plate of the vehicle was from Indiana,
he believed that Indiana required both front and rear license
plates. He so advised the driver later when he stopped the
vehicle. However, he subsequently learned Indiana requires only
a rear license plate. This mistake of law played no part in his
reason for stopping the vehicle, however, which was for a
speeding violation.
     2
       The entire conversation was in English. Although Jayro
clearly spoke English fluently, Julio did not. Several times
Trooper Hazard had to either repeat questions or use Spanish

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stepped to the cruiser, Trooper Hazard asked the passenger about
the origin and purposes of their trip.        Jayro told the trooper they
had started in Phoenix and that they were heading to Indiana.                 He
also answered that he was in Phoenix painting, and that Julio lived
in Indiana.


     In the trooper's vehicle he asked Julio if he had any American
identification, and Julio answered he did not.              Julio also said
they were coming from Phoenix where he had worked and visited his
children.   He told the trooper the owner of the Pacifica was James
Jackson, a friend from Indiana.       Answering the trooper's question
as to whether he had driven to Phoenix, Julio said, "Yeah."                   He
also said James had loaned him his car so he could go to Phoenix,
he'd been in Phoenix about ten days, and the purpose of the trip
was to work and see family.         He was going to Indiana to paint
houses until winter, when he would            go back to Phoenix.             He
identified his passenger as Jayro Antonio Flores, which matched the
name on the identification which Jayro had provided the trooper,
and said Jayro was Julio's nephew.          He also gave the trooper an
address in Phoenix where he said he had lived.


     The trooper called his dispatch to request information on the
two occupants, using their identification information.                 He also
completed the speeding warning citation.             Trooper Hazard asked
Julio how long he intended to stay in Indiana, and Julio answered
two months.    In answer to the trooper's question about how Jayro


words to convey to Julio the meaning of his inquiry. Although
Trooper Hazard testified that Julio fairly understood English,
the evidence does not support his conclusion in that regard,
particularly considered in light of Trooper Hazard's very fast
speech pattern. Nevertheless, the evidence does support a
conclusion that Julio, with great, labored effort, eventually
understood at least most of what Trooper Hazard said or asked.
See discussion regarding consent form, infra.

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was going to return to Phoenix, Julio said he would "fly, I think,
maybe. . ." but was not permitted to complete his answer before
Trooper Hazard asked another question.             Julio also said that they
were sleeping in motels and had last stopped in Colorado.


     Trooper Hazard told Julio he was going to return Jayro's
identification; he then exited the cruiser and re-approached the
Pacifica on the passenger side.             There, he asked Jayro how long
they intended to stay in Indiana.            The answer was inaudible on the
recording, but the trooper testified that Jayro answered that they
were going to be in Indiana just a couple days, and they were then
going to drive back to Phoenix.             Jayro said he helped his uncle,
Julio, but they were not in a business together.                    He didn't know
how the car had gotten to Phoenix.


     Trooper Hazard returned to the cruiser and asked Julio if he
had been arrested before, to which Julio answered that he had not.
However, dispatch informed the trooper immediately after this
exchange that Julio had a "positive triple I," meaning he had a
prior arrest for some sort of controlled substances violation.
Julio's answer that Jayro had not been arrested was confirmed by
the information radioed from dispatch.


     Julio stated that he thought he was traveling at 78 mph, and
asked if he'd been traveling 81, which the trooper confirmed.                   The
trooper then returned the documentation to Julio and told him to
"Have a nice day."      Julio then began to exit the cruiser.               Nearly
eleven minutes had elapsed from the beginning of the traffic stop.


     Trooper   Hazard    asked      Julio,    "Hey,     you   got    one   minute?"
Although there is no audible response on the recording, the trooper
testified that Julio sat back down in the cruiser and shut the


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door, and a sound resembling the closing of a car door can be heard
on the recording.      Trooper Hazard stated that "one of the things"
the State Patrol does is "criminal interdiction."               He asked Julio
again how long he was going to be in Indiana, and again Julio
answered until the snow comes, a couple of months or so as he
couldn't get work there in the winter.           Trooper Hazard asked Julio
if he'd been arrested for a DUI, to which he responded no.                   When
Trooper Hazard then stated that Jayro had told him they were
staying in Indiana only two days, Julio said that Jayro was wrong
and, with a laugh, "maybe he scared," perhaps implying that Jayro
may be scared because Julio is not an American citizen.


     A that point Trooper Hazard asked Julio if he had any weapons
in the car, to which Julio answered "no."              Then the trooper asked
whether there were any drugs in the car, and Julio answered "no."
Trooper Hazard then asked individually whether there was any
marijuana, cocaine, heroin, or methamphetamine in the car, and
Julio answered "no" to each question.            Trooper Hazard then said,
"Can I search your vehicle?            Can I search your car?"              Julio
                   3
answered "Yeah."       Trooper Hazard immediately presented Julio with
a consent-to-search form provided by the Nebraska State Patrol,


     3
       The tone in which "yeah" was stated would indicate that it
was a question, that is, there is a rise in pitch at the
conclusion of this one-syllable word. In addition, the word is
stated more loudly and more clearly than the prior answers given
by Julio that are audible on the recording. Thus, the recorded
word could be interpreted as the trooper responding to the
defendant's answer, which answer was itself not audible,
confirming an affirmative answer. In response to the court's
questioning of Trooper Hazard on this issue, he stated that the
voice on the recording saying the word was not his voice. This
testimony was credible. In either event, however –- whether the
voice is the defendant's or the trooper's confirming defendant's
affirmative answer -- it is highly unlikely that, had the
defendant answered anything but affirmatively, the trooper would
have proceeded to the execution of the consent form.

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Exhibit 4, and began reading it to him aloud.           When that was done,
Julio signed the form, and Trooper Hazard's search of the vehicle
began, eventually yielding the contraband at issue in this case and
the defendants' arrests.



               LEGAL ANALYSIS –- THE STOP AND SEARCH


     “Any traffic violation, however minor, provides probable cause
for a traffic stop.”    United States v. Payne, ___F.3d ___, 2008 WL
2853205 (8th Cir. 2008), citing, United States v. Bloomfield, 40
F.3d 910, 915 (8th Cir. 1994) (en banc).             The evidence clearly
establishes that defendant Julio Flores-Elenes was speeding.                  He
admitted that he had his cruise control set at 78 mph, and the
trooper's radar unit "locked" on his vehicle going 81 mph.                  The
traffic stop did not violate the Fourth Amendment.


     Further, Trooper Hazard did not unlawfully expand the traffic
stop.


     After stopping a vehicle, an officer has the authority to
     ask the driver what his or her destination and purpose
     is, check the driver's license and registration, or
     request that the driver step out of the vehicle. United
     States v. Linkous, 285 F.3d 716, 719 (8th Cir. 2002). A
     traffic stop can last as long as reasonably necessary to
     conduct this routine investigation, conduct a criminal
     history search, and issue a citation. United States v.
     Jones, 269 F.3d 919, 924-25 (8th Cir. 2001).     If this
     routine investigation raises the officer's suspicions and
     the officer has reasonable, articulable suspicion, the
     officer may expand the scope of the investigation.
     United States v. Allegree, 175 F.3d 648, 650 (8th Cir.
     1999).




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Payne, slip op at             .      Trooper Hazard's questioning of the
occupants of the Pacifica did not exceed the parameters allowed in
these circumstances, in either subject matter or time elapsed.


     According to the time notations on Exhibit 1, Trooper Hazard
took less than eleven minutes to complete the citation, check the
vehicle    registration      and   the       occupants'    identifications        and
criminal history information.            These were routine investigations
common to all     traffic stops.             There was no evidence of any
deliberate    delays    in     Trooper        Hazard's     inquiries      and     his
communications with his dispatcher. Once he received the requested
information from dispatch, he immediately completed the citation
and concluded the stop with "Have a nice day."


     Nor did his questions go beyond the origin, destination and
purpose of the trip, together with appropriate follow-up questions.
During his conversation with the occupants, he received only
slightly conflicting information from Jayro and Julio:                  The length
of their intended stay in Indiana (two days versus two months); and
whether Julio had been previously arrested (Julio said no, but
dispatch said yes).4      In nearly all other respects the information
gained during the conversation was consistent as between the two of
them.     Both Julio and Jayro said they were coming from Phoenix;
both had Phoenix addresses; both said they were going to Indiana,
to paint houses; both said their relationship was uncle-nephew;
Julio knew Jayro's complete name; both knew the name of the owner
of the vehicle; Julio correctly stated that Jayro had no prior


     4
       Although Trooper Hazard testified that Julio could not
give him an answer to his question of how the vehicle got to
Phoenix from Indiana, this was incorrect, as Julio did answer
that he had driven the vehicle to Phoenix. Exhibit 1. This did
not conflict with Jayro's answer, as he stated he did not know
how the vehicle got there.

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arrests.      The    discrepancies        when          considered     together     in   the
totality of     the    circumstances,             did    not   add   up    to    reasonable
suspicion to detain the defendants further, and Trooper Hazard
promptly, and wisely, concluded the traffic stop.


      Even though a law enforcement officer does not have reasonable
suspicion to detain a motorist following a traffic stop, that fact
does not preclude the officer from asking the driver to converse
with the officer further.


      Law enforcement officers do not violate the Fourth
      Amendment by asking a person for consent to search or
      other types of cooperation, even when they have no reason
      to suspect that person, "provided they do not induce
      cooperation by coercive means."        United States v.
      Drayton, 536 U.S. 194, 201 (2002); see United States v.
      Jones, 269 F.3d 919, 925 (8th Cir. 2001). That being so,
      the time it takes for an officer to find out if consent
      will be given cannot be an unlawful detention in the
      absence of coercive or otherwise unusual circumstances.

Unites States v. Yang, 345 F.3d 650, 654 (8th Cir. 2003).                             After
Trooper Hazard concluded the traffic stop, he permitted Julio to
begin to exit the patrol vehicle and be on his way before asking
him if he would take "one minute" more.                    Julio's aborting his exit
and   sitting   back    down     in     the       passenger     seat      was    reasonably
interpreted     by     the     trooper            as     consenting       to     additional
conversation.        Although asking for only "one minute" more was
deceptive, it was not so much so as to amount to "coercive"
circumstances.       There were no other unusual circumstances present,
and Hazard's request for consent to search was made during this
very brief consensual extension of the encounter.                              There was no
violation of the Fourth Amendment in asking Julio to continue to
converse with the officer.




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      Nor were there other circumstances which would render Julio's
consent to search the vehicle involuntary.             He willingly answered
the   trooper's   questions    about       whether   the   vehicle     contained
contraband, and he responded immediately and affirmatively to the
question,   "Can I search your vehicle?              Can I search your car?"
His consent thus given was voluntary and untainted by any coercive
or other circumstances.       The consensual search that followed did
not violate the Fourth Amendment.5




      5
       That said, it must be observed that absent the clear
evidence of the defendant's verbal consent, there is inadequate
evidence to establish that the defendant's written consent was
knowing and voluntary. It is abundantly clear from the recording
that a reasonable officer would have known from the outset of the
conversation that Julio's primary language was Spanish. Yet, the
consent-to-search from used by the trooper was in English and
contains several words beyond what might be considered "beginner"
English vocabulary, such as "voluntarily," "authorize," and
"assistance." The form was read to Julio very quickly, and the
trooper did not inquire as to Julio's understanding of the words
in the form (as he had done at times during the preceding
conversation) nor his ability to read English.

     The Nebraska State Patrol has used Spanish language consent-
to-search forms (as well as occasionally live interpreters) many
times in prior cases before this court, so it is clear such forms
are or can be available to its troopers. In literally hundreds
of prior cases in this court which have involved transporting
illegal drugs on I-80, many, if not a majority, of the defendants
have been persons whose primary language is Spanish. It is
plainly foreseeable that many more such persons may be involved
in traffic stops conducted by the Nebraska State Patrol in the
future. Although it did not abrogate the verbal consent given in
this case, failure of the Nebraska State Patrol to use Spanish
language consent-to-search forms seriously impedes this court's
ability to find a "knowing" and "voluntary" consent to an ensuing
search of a vehicle, and thus jeopardizes future cases.

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                             FACTS —- THE INTERVIEW


        Defendant Jayro Flores was later taken to an interview room
at the Kearney, Nebraska office of the Nebraska State Patrol.                        NSP
Investigator Jeff Shelton attempted to interview Jayro about the
incident.       These events were videotaped and the tape of the
conversation     was    received        as   Exhibit    2.       Jayro   declined    the
interview, but not before he had answered some questions put to him
by Shelton.


        The videotape shows the following.                 Defendant was already in
the room when Investigator Shelton entered the room. Shelton asked
the defendant for identification, and defendant responded that it
was in his wallet with Trooper Hazard.                  Shelton asked defendant's
name,     and   Jayro    responded,          spelling      it,    whereupon     Shelton
introduced himself, shook the defendant's hand, and identified
himself as an investigator with the Nebraska State Patrol. Shelton
asked for and the defendant gave his street address in Phoenix.
The following then took place:


     Shelton: Well, I'm assuming you probably know the reason that
     you're in here. Do you know why you've been arrested?

     Defendant: [After looking down for a second or two] Yes, sir.

     Shelton: Just another quick question. I'm assuming the car
     out there [pointing over his shoulder] -- it belong to him,
     the other guy?

     Defendant:        No.

     Shelton:     Who does it belong to?

     Defendant:        James Jackson.

     Shelton:     That's a real name?

     Defendant:        From what I know of, yes.

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     Shelton:   Is James in the Service?

     Defendant:    I don't know.

     Shelton: There's an Army sticker on the back window and a
     supporter sticker on the back license plate.  Do you know
     James at all?

     Defendant:    No I don't.

     Shelton: You don't know him at all?              Does this guy out here
     know him?

     Defendant:    I don't know.

     Shelton:     Is this your uncle?

     Defendant:    That's right.

     Shelton:     So you don't know anything about James?

     Defendant:    [inaudible].

Exhibit 2, at elapsed times 1:00-2:07.           Then Investigator Shelton
put down his writing utensil and discussed an "opportunity" for
Jayro to "help yourself" by providing information to the Nebraska
State Patrol.     After Jayro declined and asked about his rights,
Shelton   responded     that   he   hadn't     asked     defendant     anything
incriminating so there was no need to advise him of his rights.
Shelton suggested that the defendant consider whether he had
anything he wanted to tell the investigator, and, in response to
Jayro's question about retrieving his cell phones, said, ". . . I
guarantee you, we can find a lot of stuff out from your cell
phones, so if you have anything to tell me, you'd better think
about it now.     I'll give you a few minutes."            Id. at 4:58.       The
conversation then ended, only five minutes after it began, with
Shelton leaving the room.




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                     LEGAL ANALYSIS –- THE INTERVIEW


      The government agrees with the defendant that he was "in
custody" as that term is used in Miranda v. Arizona, 384 U.S. 436,
444-45 (1966), and further agrees that defendant did not receive
Miranda warnings prior to any of the statements in dispute.                      The
governments claims, however, that the questions asked were simply
"biographical," and not incriminating, while the defendant argues
that they were and were intended to be incriminating under Rhode
Island v. Innis, 446 U.S. 291 (1980).            Defendant has not raised the
"voluntariness" of the conversation or of the statements made as an
issue to be resolved.


      The Supreme Court has held that under Miranda, when a suspect
is   in   custody,   not    only      express    questioning,      but   also    its
"functional equivalent" is barred. Arizona v. Mauro, 481 U.S. 520,
526 (1987).     The "functional equivalent" is defined as "any words
or actions on the part of the police (other than those normally
attendant to arrest and custody) that the police should know are
reasonably likely to elicit an incriminating response from the
suspect."    Innis, 446 U.S. at 301.          In addition, "'[a]ny knowledge
the police may have had concerning the unusual susceptibility of a
defendant to a particular form of persuasion might be an important
factor in determining' what the police reasonably should have
known."     Pennsylvania v. Muniz, 496 U.S. 582, 601 (1990), quoting
Innis at 302.


      There is, however, a "routine booking question" exception to
the bar against custodial interrogation, under which "questions to
secure the 'biographical data necessary to complete booking or
pretrial services'" normally attendant to the booking process are
not considered interrogation.           Muniz, at 601, citing United States


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v. Horton, 873 F.2d 180, 181, n. 2 (8th Cir. 1989)(Questions
regarding defendant's name, address, height, weight, eye color,
date of birth, and current age fall within the booking exception).
The Eighth Circuit has stated:


     “[B]ackground questions rarely elicit an incriminating
     response.” United States v. Mata-Abundiz, 717 F.2d
     1277, 1280 (9th Cir. 1983)(question regarding
     citizenship held interrogation), citing United States
     v. Booth, 669 F.2d 1231, 1238 (9th Cir. 1981). If,
     however, the questions are reasonably likely to elicit
     an incriminating response in a particular situation,
     the [booking] exception does not apply.” United States
     v. Mata-Abundiz, 717 F.2d at 1280; see Pennsylvania v.
     Muniz, 496 U.S. at 602, n. 14. The test is an
     objective one, although the subjective intent of the
     questioning agent is relevant. United States v. Mata-
     Abundiz, 717 F.2d at 1280. In addition, the
     relationship of the question asked to the crime
     suspected is considered highly relevant. Id.

United States v. Reyes, 908 F2d 281, 293 (8th Cir. 1990), cert.
denied, 499 U.S. 908 (1991).


     Other than "Is this your uncle?", it is difficult to
understand how any of the above questions or conversation can be
described as seeking "biographical" information.6             Rather, they
clearly are inquiries about the defendant's knowledge of the
facts giving rise to his and his uncle's arrests.              Whether Jayro

     6
       Had the investigator asked, he might have learned some
biographical information which might have "concern[ed] [any]
unusual susceptibility of [this] defendant to a particular form
of persuasion." Muniz, supra, at 601. There is no evidence of
whether the investigator knew or should have known that there
were any such factors in play in this conversation, such as
defendant's young age (18) and the fact that he had no prior
criminal record. Those facts were part of the "collective
knowledge" of the state patrol, however, as they were given to
Trooper Hazard by dispatch during the traffic stop. It is
unnecessary to reach this issue in the circumstances here.

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knew why he was arrested elicited a response that could be
interpreted as "guilty knowledge."         Whether he knew who owned the
car elicited his knowledge about the overall trip or scheme.
Whether he knew the person who owned the car elicited information
that could tie him to the overall scheme and purpose of the
travel.    These questions could reasonably be expected to seek
incriminating responses disclosing information well beyond the
biographical information commonly gathered in the booking
process.    As such, they constituted unwarned custodial
"interrogation" under Innis, in violation of Miranda.               All of the
conversation after the question and answer giving Jayro's address
should be suppressed.


     In accordance with the foregoing,


     IT THEREFORE HEREBY IS RECOMMENDED to the Hon. Richard G.
Kopf, United States District Judge, pursuant to 28 U.S.C.
§636(b)(1)(B):

     1. Defendant Julio Flores-Elenes’s motion to suppress
evidence, filing 28, be denied in all respects.

     2. Defendant Jayro Fores's motion to suppress statements,
filing 26, be granted.

     The parties are notified that failure to object to this
recommendation as provided in the local rules may result in a
waiver of the right to appeal the district judge’s adoption of
findings in the recommendation.


     FURTHER, IT HEREBY IS ORDERED: Trial of this matter is
scheduled to begin at 9:00 a.m. on September 15, 2008 before the
Hon. Richard G. Kopf, United States District Judge, and a jury.
Jury selection will be held at commencement of trial. Trial is
scheduled for a duration of three trial days. This trial setting
is conditioned upon the prior disposition or continuance of
United States v. Brown, 4:08CR3009; United States v. Arriola,
4:08CR3087; and United States v. Mendibil and Bernal, 4:08CR3095.



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     Dated July 28, 2008


                                   BY THE COURT




                                   s/  David L. Piester
                                   United States Magistrate Judge




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